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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                    )
UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )
                                                    )
              v.                                    )        Case No. 09-20133
                                                    )
STEPHEN BLACKBURN,                                  )
                                                    )
                      Defendant.                    )
                                                    )



                           MEMORANDUM AND ORDER

       Defendant Stephen Blackburn has consistently challenged this court’s jurisdiction

over him in this criminal case. And this court has repeatedly denied his motions to

dismiss and found that it does, in fact, have jurisdiction to hear the case. Mr. Blackburn

filed a notice of appeal in an effort to challenge that determination (doc. 610), and the

Tenth Circuit dismissed his appeal (doc. 655).

       Mr. Blackburn has now filed in the Tenth Circuit a petition for a writ of

mandamus, again disputing this court’s jurisdiction (doc. 682). In response, the

Government has filed a motion (doc. 722) asking the court to certify that to the extent

that Mr. Blackburn’s mandamus petition is another attempt at an interlocutory appeal it

is frivolous, with the result that the court maintains jurisdiction over the case. Jury trial

in this matter is set to commence on April 7, 2011.

       The court has reviewed its prior orders and the mandamus petition, and it agrees
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that the issues raised in Mr. Blackburn’s petition for mandamus are frivolous. Therefore,

to the extent that the petition was intended as an interlocutory appeal, the court certifies

it as frivolous and retains jurisdiction over the case, which may proceed to trial. See

United States v. Rodriguez-Aguirre, 73 F.3d 1023, 1024 n.2 (10th Cir. 1996) (district

court’s order certifying the defendant’s appeal as frivolous “had the effect of reinstating

jurisdiction in the district court so that the trial could proceed, even while [the

defendant’s] interlocutory appeal was pending in this court”).



       IT IS THEREFORE ORDERED BY THE COURT that the Government’s

motion (doc. 722) is granted.



       IT IS SO ORDERED this 17th day of March, 2011.


                                     s/ John W. Lungstrum
                                     John W. Lungstrum
                                     United States District Judge




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